






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,325




EX PARTE QUINTIN MONTGOMERY, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 08-CRF-0041 IN THE 105TH DISTRICT COURT
FROM KLEBERG COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of burglary,
aggravated robbery (two counts), and aggravated assault.  Applicant was sentenced to ten years’
imprisonment.  He did not appeal his conviction. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his plea was involuntary because as part of the plea agreement, he
was to be sent to boot camp, but was not.  The trial court has entered findings of fact recommending
that relief be granted because the condition of Applicant’s plea agreement that he be sent to boot
camp has not been fulfilled.  Applicant is entitled to relief.  Ex parte Huerta, 692 S.W.2d 681 (Tex.
Crim. App. 1985).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relief is granted.  The judgment in Cause No. 08-CRF-0041-A in the 105th Judicial District
Court of Kleberg County is set aside, and Applicant is remanded to the custody of the sheriff of
Kleberg County to answer the charges as set out in the indictment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Delivered: April 14, 2010
Do Not Publish


